                  Case 1-18-46257-cec                      Doc 14       Filed 01/20/19    Entered 01/20/19 21:30:18


 Information to identify the case:
 Debtor 1               Elvis Kraljev                                                    Social Security number or ITIN   xxx−xx−0735
                        First Name    Middle Name    Last Name                           EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                                Social Security number or ITIN _ _ _ _
                        First Name    Middle Name    Last Name
 (Spouse, if filing)
                                                                                         EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court               Eastern District of New York
                                                                                         Date case filed for chapter 7 10/30/18
 Case number:          1−18−46257−cec



                    NOTICE OF NO CERTIFICATE OF DEBTOR EDUCATION OR
                                    OFFICIAL FORM 423
                  CERTIFICATION ABOUT A FINANCIAL MANAGEMENT COURSE

NOTICE IS HEREBY GIVEN THAT:

The above−named debtor(s) has not filed a Certificate of Debtor Education or Official Form 423 Certification About
a Financial Management Course in accordance with Bankruptcy Rules 1007(b)(7) and 1007(c).

Unless the aforementioned Certificate or Official Form 423 is filed by February 4, 2019, this case may be closed with
no discharge of debtor(s) having been entered.

Notice is further given that if the debtor(s) subsequently file(s) a Motion to Reopen the case to allow for the filing of
the Certificate of Debtor Education or Official Form 423 Certification About a Financial Management Course, the
debtor(s) must pay the full filing fee due for filing such a motion.


 Dated: January 20, 2019


                                                                               For the Court, Robert A. Gavin, Jr., Clerk of Court




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